Case 21-03032-MBK        Doc 110-6 Filed 11/24/21 Entered 11/24/21 16:26:38              Desc
                           Letter to District Court Page 1 of 2




                                        November 24, 2021


Clerk
United States District Court
Clarkson S. Fisher U.S. Courthouse
402 East State Street, Courtroom 5E
Trenton, NJ 08608

       Re:    LTL Management, LLC
              U.S. Bankruptcy Court D.N.J. Case No.: 21-30589-MBK

              LTL Management, LLC v. Those Parties Listed on Appendix A to
              Complaint and John and Jane Does 1-1000.
              U.S. Bankruptcy Court D.N.J. Adv. Pro. No.: 21-03032-MBK

Dear Clerk of the United States District Court:

       The undersigned’s firm is proposed local bankruptcy counsel for the Official Committee
of Talc Claimants (the “Committee”) of LTL Management LLC (the “Debtor”), in the above-
referenced matters. Enclosed is a Motion by the Committee to withdraw the reference (the
“Motion”) of adversary proceeding 21-03032 (the “Adversary Proceeding”).

         As detailed in the Motion, the above-captioned bankruptcy case was filed in the United
States Bankruptcy Court for the Western District of North Carolina (the “WDNC Bankruptcy
Court”) on October 14, 2021. On November 8, 2021, the WDNC Bankruptcy Court entered an
order appointing the Committee pursuant to Section 1102(a)(1) of the Bankruptcy Code upon the
motion of the United States Bankruptcy Administrator for the Western District of North
Carolina. [Case No.: 21-30589; D.I. 355] The Committee has been functioning and performing
its duties since appointment.

        On November 16, 2021, the WDNC Bankruptcy Court entered an Order Transferring
Case to the District of New Jersey. [Case No.: 21-30589; D.I. 416] On November 24, 2021, the
United States Bankruptcy Court for the District of New Jersey entered the Stipulation and
Agreed Order Authorizing the Official Committee of Talc Claimants to Intervene in Preliminary
Injunction Adversary Proceeding (the “Stipulation to Intervene”).
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        The Committee understands that Chief Judge Freda L. Wolfson oversees that certain
related litigation pending in the United States District Court for the District of New Jersey,
captioned In re Johnson & Johnson Talcum Powder Products Marketing, Sales Practices, and
Products Liability Litigation, assigned case number 16-2738 (the “MDL Litigation”). Based on
Her Honor’s extensive familiarity with the MDL Litigation, the Committee respectfully submits
that Judge Wolfson is best suited to make an ultimate determination on the Committee’s Motion.
The Motion and this letter have been served on the Debtor and counsel for other parties in
interest.


                                                  Respectfully submitted,

                                                  GENOVA BURNS LLC

                                                  /s/Angelo J. Genova
                                                  ANGELO J. GENOVA

                                                  DANIEL M. STOLZ
                                                  DONALD W. CLARKE
                                                  Genova Burns, LLC
                                                  494 Broad Street
                                                  Newark, New Jersey 07102

cc: Service List
